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 7
 8 Attorneys for Defendants
 9 Dragon Media, Inc.,
   Paul Christoforo, and Jeff Williams
10
                                        UNITED STATES DISTRICT COURT
11                                     CENTRAL DISTRICT OF CALIFORNIA
12
                                                                  )
13                                                                )   Case No.: 2:18-cv-00230 MWF (ASx)
      NETFLIX STUDIOS, LLC, et al.,                               )
14                                                                )
                                  Plaintiff,
                                                                  )
15                                                                )   DEFENDANTS PAUL CHRISTOFORO
                   v.
16
                                                                  )   AND DRAGON MEDIA, INC.’S ANSWER
                                                                  )   TO PLAINTIFFS’ COMPLAINT
17                                                                )
      DRAGON MEDIA, INC. et al.                                   )
18                                                                )
                                 Defendants.                      )   Judge:       Hon. Michael W. Fitzgerald
19                                                                )   Room:        5A
                                                                  )
20                                                                )   Complaint Filed: January 10, 2018
                                                                  )
21                                                                )
                                                                  )
22                                                                )
                                                                  )
23                                                                )
                                                                  )
24
25             Defendants Paul Christoforo and Dragon Media, Inc. d/b/a/ Dragon Media, Inc.
26
      d/b/a Dragon Box (collectively “answering Defendants”) hereby respond to the allegations
27
28    contained in the Complaint filed by Plaintiffs Netflix Studios, LLC, Amazon Content

                                                                        1
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 1    Services, LLC, Columbia Pictures Industries, Inc, Disney Enterprises, Inc., Paramount
 2
      Pictures Corporation, Twentieth Century Fox Film Corporation, Universal City Studios
 3
 4    Productions LLLP, and Warner Bros Entertainment Inc. (collectively “Plaintiffs”), as
 5
      follows:
 6
 7
          1. Answering Paragraph 1 of the Complaint, answering Defendants admit that Dragon

 8             Media, Inc. markets and sells “Dragon Box,” a computer hardware device. Further,
 9
               answering Defendants admit that the screenshot of the ad included therein is a
10
11             Dragon Box’s ad but they deny any and all assertions, allegations, and inferences
12
               that Plaintiffs have made or have attempted to convey thereupon.                                  Further,
13
14             answering Defendants deny that “Defendant urge their customers to use as a tool for
15             the mass infringement of the copyrighted motion pictures and television shows
16
               Plaintiffs own or have the exclusive right(s) to reproduce, distribute, and/or publicly
17
18             perform (“Copyrighted Woks”).”                     Answering Defendants deny each and every
19
               remaining allegation contained therein.
20
21        2. Answering Paragraph 2 of the Complaint, answering Defendants admit that Dragon
22
               Media, Inc. distributes and promotes the Dragon Box device. Answering Defendants
23
24
               deny each and every remaining allegation contained therein.

25        3. Answering Paragraph 3 of the Complaint, answering Defendants deny that they
26
               intentionally induced or knowingly and materially contributed to any infringement
27
28             of Plaintiffs’ rights. Answering Defendants lack knowledge or information sufficient

                                                                   2
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 1             to form a belief as to the truth of the remaining allegations contained therein, and on
 2
               that basis denies each and every remaining allegation contained therein.
 3
 4
 5                                                          THE PARTIES
 6
          4. Answering Paragraph 4 of the Complaint, answering Defendants lack knowledge or
 7
 8             information sufficient to form a belief as to the truth of the allegations contained
 9
               therein, and on that basis deny each and every allegation contained therein.
10
11        5. Answering Paragraph 5 of the Complaint, answering Defendants lack knowledge or
12
               information sufficient to form a belief as to the truth of the allegations contained
13
14             therein, and on that basis deny each and every allegation contained therein.

15        6. Answering Paragraph 6 of the Complaint, answering Defendants lack knowledge or
16
               information sufficient to form a belief as to the truth of the allegations contained
17
18             therein, and on that basis deny each and every allegation contained therein.
19
          7. Answering Paragraph 7 of the Complaint, answering Defendants lack knowledge or
20
21             information sufficient to form a belief as to the truth of the allegations contained
22             therein, and on that basis deny each and every allegation contained therein.
23
          8. Answering Paragraph 8 of the Complaint, answering Defendants lack knowledge or
24
25             information sufficient to form a belief as to the truth of the allegations contained
26
               therein, and on that basis deny each and every allegation contained therein.
27
28        9. Answering Paragraph 9 of the Complaint, answering Defendants lack knowledge or

                                                                  3
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 1             information sufficient to form a belief as to the truth of the allegations contained
 2
               therein, and on that basis deny each and every allegation contained therein.
 3
 4        10.Answering Paragraph 10 of the Complaint, answering Defendants lack knowledge or
 5             information sufficient to form a belief as to the truth of the allegations contained
 6
               therein, and on that basis deny each and every allegation contained therein.
 7
 8        11.Answering Paragraph 11 of the Complaint, answering Defendants lack knowledge or
 9
               information sufficient to form a belief as to the truth of the allegations contained
10
11             therein, and on that basis deny each and every allegation contained therein.
12
          12.Answering Paragraph 12 of the Complaint, answering Defendants lack knowledge or
13
14             information sufficient to form a belief as to the truth of the allegations contained

15             therein, and on that basis deny each and every allegation contained therein.
16
          13.Answering Paragraph 13 of the Complaint, answering Defendants admit the
17
18             allegations contained therein.
19
          14.Answering Paragraph 14 of the Complaint, answering Defendants admit the
20
21             allegations contained therein.
22        15.Answering Paragraph 15 of the Complaint, answering Defendants lack knowledge or
23
               information sufficient to form a belief as to the truth of the allegations contained
24
25             therein, and on that basis deny each and every allegation contained therein.
26
      ///
27
28    ///

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 1                                              JURISDICTION AND VENUE
 2
          16.Answering Paragraph 16 of the Complaint, answering Defendants state that the
 3
 4             allegations contained in this paragraph assert a conclusion of law to which no
 5             response is required; to the extent a response is required, answering Defendants deny
 6
               the allegations therein.
 7
 8        17.Answering Paragraph 17 of the Complaint, answering Defendants state that the
 9
               allegations contained in this paragraph assert a conclusion of law to which no
10
11             response is required; to the extent a response is required, answering Defendants deny
12
               the allegations therein.
13
14
15                                                  FACTUAL OVERVIEW
16
      Plaintiffs and Their Copyrighted Works
17
18        18.Answering Paragraph 18 of the Complaint, answering Defendants admit the
19
               allegations contained therein.
20
21        19.Answering Paragraph 19 of the Complaint, answering Defendants lack knowledge or
22             information sufficient to form a belief as to the truth of the allegations contained
23
               therein, and on that basis deny each and every allegation contained therein.
24
25        20.Answering Paragraph 20 of the Complaint, answering Defendants lack knowledge or
26
               information sufficient to form a belief as to the truth of the allegations contained
27
28             therein, and on that basis deny each and every allegation contained therein.

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 1        21.Answering Paragraph 21 of the Complaint, answering Defendants lack knowledge or
 2
               information sufficient to form a belief as to the truth of the allegations contained
 3
 4             therein, and on that basis deny each and every allegation contained therein.
 5        22.Answering Paragraph 22 of the Complaint, answering Defendants admit that
 6
               Plaintiffs have no written contracts with answering Defendants. Answering
 7
 8             Defendant lacks knowledge or information sufficient to form a belief as to the truth
 9
               of the remaining allegations contained therein, and on that basis deny each and every
10
11             remaining allegation contained therein.
12
      Defendants’ Inducement of and Contribution to the Infringement of Plaintiffs’
13
14    Copyrighted Works

15        23.Answering Paragraph 23 of the Complaint, answering Defendants admit that the
16
               screenshot of the ad included therein is a Dragon Box’s ad, but they deny any and all
17
18             assertions, allegations, and inferences that Plaintiffs have made or have attempted to
19
               convey thereupon.
20
21        24.Answering Paragraph 24 of the Complaint, answering Defendants admit that the ad
22             included therein is a Dragon Box’s ad, but they deny any and all assertions,
23
               allegations, and inferences that Plaintiffs have made or have attempted to convey
24
25             thereupon.
26
          25.Answering Paragraph 25 of the Complaint, answering Defendants admit that Dragon
27
28             Box utilizes Kodi, a third-party open source software media player and that Kodi

                                                                  6
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 1             operates with many different programs and file formats. However, answering
 2
               Defendants lack knowledge or information sufficient to form a belief as to the truth
 3
 4             of the allegation that Kodi is recognized as the most popular media player, and the
 5             definition of an addon contained therein, and on that basis deny these allegations.
 6
               Answering Defendants deny each and every remaining allegations contained therein.
 7
 8        26.Answering Paragraph 26 of the Complaint, answering Defendants lack knowledge or
 9
               information sufficient to form a belief as to the truth of the allegations concerning
10
11             “addons” contained therein, and on that basis deny those allegations contained
12
               therein. Answering Defendants deny each and every remaining allegation contained
13
14             therein.

15        27.Answering Paragraph 27 of the Complaint, answering Defendants lack knowledge or
16
               information sufficient to form a belief as to the truth of the allegations contained
17
18             therein so far as it refers to “the customer’s perspective”, and on that basis answering
19
               Defendants deny each and every allegation contained therein. To the extent a
20
21             response is deemed required, answering Defendants deny the allegations contained
22             therein.
23
          28.Answering Paragraph 28 of the Complaint, answering Defendants deny the
24
25             allegations contained therein.
26
          29.Answering Paragraph 29 of the Complaint, answering Defendants deny the
27
28             allegations contained therein.

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 1        30.Answering Paragraph 30 of the Complaint, answering Defendants lack knowledge or
 2
               information sufficient to form a belief as to the truth of the allegations contained
 3
 4             therein, and on that basis deny each and every allegation contained therein.
 5        31.Answering Paragraph 31 of the Complaint, answering Defendants lack knowledge or
 6
               information sufficient to form a belief as to the truth of the allegations concerning
 7
 8             “Covenant” contained therein, and on that basis deny each and every allegation
 9
               contained therein. To the extent a response is deemed required, answering
10
11             Defendants deny the allegations contained therein.
12
          32.Answering Paragraph 32 of the Complaint, answering Defendants lack knowledge or
13
14             information sufficient to form a belief as to the truth of the allegations contained

15             therein, and on that basis deny each and every allegation contained therein.
16
          33.Answering Paragraph 33 of the Complaint, answering Defendants lack knowledge or
17
18             information sufficient to form a belief as to the truth of the allegations contained
19
               therein, and on that basis deny each and every allegation contained therein.
20
21        34.Answering Paragraph 34 of the Complaint, answering Defendants lack knowledge or
22             information sufficient to form a belief as to the truth of the allegations contained
23
               therein, and on that basis deny each and every allegation contained therein.
24
25        35.Answering Paragraph 35 of the Complaint, answering Defendants lack knowledge or
26
               information sufficient to form a belief as to the truth of the allegations contained
27
28             therein, and on that basis deny each and every allegation contained therein.

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 1        36.Answering Paragraph 36 of the Complaint, answering Defendants lack knowledge or
 2
               information sufficient to form a belief as to the truth of the allegations contained
 3
 4             therein, and on that basis deny each and every allegation contained therein.
 5        37.Answering Paragraph 37 of the Complaint, answering Defendants lack knowledge or
 6
               information sufficient to form a belief as to the truth of the allegations contained
 7
 8             therein so far as they refer to “Coco” and “the customer”, and on that basis deny the
 9
               allegations. Answering Defendants deny each and every remaining allegation
10
11             contained therein.
12
      Defendants Intentionally Induce Mass Infringement of Plaintiffs’ Copyrighted Works
13
14        38.Answering Paragraph 38 of the Complaint, answering Defendants deny the

15             allegations contained therein.
16
          39.Answering Paragraph 39 of the Complaint, answering Defendants admit that the
17
18             screenshot of the ad included therein is a Dragon Box’s ad, but they deny any and all
19
               assertions, allegations, and inferences that Plaintiffs have made or have attempted to
20
21             convey thereupon.
22        40. Answering Paragraph 40 of the Complaint, answering Defendants admit that the
23
               screenshot of the ad included therein is a Dragon Box’s ad, but they deny any and all
24
25             assertions, allegations, and inferences that Plaintiffs have made or have attempted to
26
               convey thereupon.
27
28        41.Answering Paragraph 41 of the Complaint, answering Defendants lack knowledge or

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 1            information sufficient to form a belief as to the truth of the allegations contained
 2
              therein, and on that basis deny each and every allegation contained therein.
 3
 4       42.Answering Paragraph 42 of the Complaint, answering Defendants lack knowledge or
 5            information sufficient to form a belief as to the truth of the allegations that
 6
              “Warcraft was not released to theaters until June 10, 2016, and not authorized for
 7
 8            on-demand streaming until September 13, 2016”, and on that basis deny each and
 9
              every allegation contained therein. To the extent a response is deemed required,
10
11            answering Defendants deny the allegations contained therein.
12
         43.Answering Paragraph 43 of the Complaint, answering Defendants deny that Dragon
13
14            Media Inc. owns any software applications or updates. Any software applications or

15            updates are designed and owned by third parties. As such, answering Defendants
16
              deny each and every allegation contained therein.
17
18       44.Answering Paragraph 44 of the Complaint, answering Defendants lack knowledge or
19
              information sufficient to form a belief as to the truth of the allegations concerning
20
21            “Dragon Box customers”, and what the customers do with the “Area-51 IPTV
22            addon” and on that basis deny each and allegation contained therein.
23
         45.Answering Paragraph 45 of the Complaint, answering Defendants admit that Dragon
24
25            Media Inc. solicits companies like the company affiliated with Jeff Williams to serve
26
              as authorized distributors and resellers of Dragon Box devices by highlighting the
27
28            increasing popularity of Dragon Box devices and extensive profit realized through

                                                                 10
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 1            the sales but deny each and every remaining allegation contained therein.
 2
         46.Answering Paragraph 46 of the Complaint, answering Defendants admit they solicit
 3
 4            persons to serve as authorized distributors and resellers of Dragon Box devices, but
 5            they deny any and all assertions, allegations, and inferences that Plaintiffs have
 6
              made thereupon or have attempted to convey. Answering Defendants deny each and
 7
 8            every remaining allegations contained therein.
 9
         47.Answering Paragraph 47 of the Complaint, answering Defendants admit that Dragon
10
11            Media, Inc.’s revenues growth depends on an increase in demand for the Dragon
12
              Box devices, but they deny each and every remaining allegation contained therein.
13
14
15
16
                                                FIRST CAUSE OF ACTION
17
18           (Intentionally Inducing the Infringement of Plaintiffs’ Copyrighted Works,
19
                                                           17 U.S.C. § 106)
20
21       48.Answering Paragraph 48 of the Complaint, answering Defendants hereby repeat, re-
22            allege and incorporate by reference the answers to Paragraphs 1 through 47, as
23
              though fully set herein.
24
25       49.Answering Paragraph 49 of the Complaint, answering Defendants deny the
26
              allegations contained therein.
27
28       50.Answering Paragraph 50 of the Complaint, answering Defendants deny the

                                                                  11
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 1            allegations contained therein.
 2
         51.Answering Paragraph 51 of the Complaint, answering Defendants deny the
 3
 4            allegations contained therein.
 5       52.Answering Paragraph 52 of the Complaint, answering Defendants deny the
 6
              allegations contained therein.
 7
 8       53.Answering Paragraph 53 of the Complaint, answering Defendants deny the
 9
              allegations contained therein.
10
11       54.Answering Paragraph 54 of the Complaint, answering Defendants deny the
12
              allegations contained therein.
13
14       55.Answering Paragraph 55 of the Complaint, answering Defendants deny the

15            allegations contained therein.
16
         56.Answering Paragraph 56 of the Complaint, answering Defendants deny the
17
18            allegations contained therein.
19
         57.Answering Paragraph 57 of the Complaint, answering Defendants deny the
20
21            allegations contained therein.
22
23
                                              SECOND CAUSE OF ACTION
24
25   (Contributory Copyright Infringement by Knowingly and Materially Contributing to
26
                  the Infringement of Plaintiffs’ Copyrighted Works, 17 U.S.C. § 106)
27
28       58.Answering Paragraph 58 of the Complaint, answering Defendants hereby repeat, re-

                                                                 12
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 1            allege and incorporate by reference the answers to Paragraphs 1 through 47, as
 2
              though fully set herein.
 3
 4       59.Answering Paragraph 59 of the Complaint, answering Defendants deny the
 5            allegations contained therein.
 6
         60.Answering Paragraph 60 of the Complaint, answering Defendants deny the
 7
 8            allegations contained therein.
 9
         61.Answering Paragraph 61 of the Complaint, answering Defendants deny the
10
11            allegations contained therein.
12
         62.Answering Paragraph 62 of the Complaint, answering Defendants deny the
13
14            allegations contained therein.

15       63.Answering Paragraph 63 of the Complaint, answering Defendants deny the
16
              allegations contained therein.
17
18       64.Answering Paragraph 64 of the Complaint, answering Defendants deny the
19
              allegations contained therein.
20
21       65.Answering Paragraph 65 of the Complaint, answering Defendants deny the
22            allegations contained therein.
23
         66.Answering Paragraph 56 of the Complaint, answering Defendants deny the
24
25            allegations contained therein.
26
         67.Answering Paragraph 67 of the Complaint, answering Defendants deny the
27
28            allegations contained therein.

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 1                                         FIRST AFFIRMATIVE DEFENSE
 2
                                             (STATUTES OF LIMITATION)
 3
 4       68.As a separate and affirmative defense to each cause of action pleaded in the
 5            Complaint, answering Defendants allege that the Complaint, and each Cause of
 6
              Action, is barred in whole or in part by the applicable statutes of limitation.
 7
 8
 9
                                         SECOND AFFIRMATIVE DEFENSE
10
11                                          (FAILURE TO STATE A CLAIM)
12
         69.As a separate and affirmative defense to each cause of action pleaded in the
13
14            Complaint, answering Defendants allege that the Complaint, and each Cause of

15            Action, fails to allege facts sufficient to state a cause of action.
16
17
18                                         THIRD AFFIRMATIVE DEFENSE
19
                                            (LACK OF CULPABLE INTENT)
20
21       70.As a separate and affirmative defense to each cause of action pleaded in the
22            Complaint, answering Defendants allege that the Complaint, and each Cause of
23
              Action, is barred because of answering Defendants’ lack of culpable intent.
24
25   ///
26
     ///
27
28   ///

                                                                 14
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 1                                       FOURTH AFFIRMATIVE DEFENSE
 2
                                                       (UNCLEAN HAND)
 3
 4       71.As a separate and affirmative defense to each cause of action pleaded in the
 5            Complaint, answering Defendants allege that the Complaint, and each Cause of
 6
              Action, is barred in whole or in part by the doctrine of unclean hands.
 7
 8
 9
                                           FIFTH AFFIRMATIVE DEFENSE
10
11                                              (ESTOPPEL AND WAIVER)
12
         72.As a separate and affirmative defense to each cause of action pleaded in the
13
14            Complaint, answering Defendants allege that the Complaint, and each Cause of

15            Action, is barred in whole or in part by the doctrine of estoppel and/or waiver.
16
17
18                                         SIXTH AFFIRMATIVE DEFENSE
19
                              (SAFE HARBOR UNDER 17 U.S.C. SECTION 512)
20
21       73.As a separate and affirmative defense to each cause of action pleaded in the
22            Complaint, answering Defendants allege that the Complaint, and each Cause of
23
              Action, is barred in whole or in part by the safe harbors of 17 U.S.C. section 512.
24
25   ///
26
     ///
27
28   ///

                                                                 15
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 1                                      SEVENTH AFFIRMATIVE DEFENSE
 2
           (IMPLIED AUTHORIZATION TO PROMOTE AND SELL DRAGON BOX
 3
 4                                                               DEVICES)
 5       74.As a separate and affirmative defense to each cause of action pleaded in the
 6
              Complaint, answering Defendants allege that they had Plaintiff Amazon’s implied
 7
 8            authorization to promote and sell the device at issue.
 9
10
11                                       EIGHTH AFFIRMATIVE DEFENSE
12
                                                                 (LACHES)
13
14       75.As a separate and affirmative defense to each cause of action pleaded in the

15            Complaint, answering Defendants allege that Plaintiffs’ claims and requests for
16
              relief are barred, in whole or in part, by the doctrine of laches.
17
18
19
                                           NINTH AFFIRMATIVE DEFENSE
20
21                                               (OFF-SET OF DAMAGES)
22       76.As a separate and affirmative defense to each cause of action pleaded in the
23
              Complaint, answering Defendants allege that any amount sought to be recovered is
24
25            barred in whole or in part due to an off-set of damages by virtue of the conduct of
26
              Plaintiffs and others responsible for Plaintiffs’ alleged damages, if any.
27
28   ///

                                                                    16
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 1                                        TENTH AFFIRMATIVE DEFENSE
 2
                                                (ADDITIONAL DEFENSES)
 3
 4       77.As a separate and affirmative defense to each cause of action pleaded in the
 5            Complaint, answering Defendants have insufficient knowledge or information on
 6
              which to form a belief as to whether they may have additional, as yet unstated,
 7
 8            affirmative defenses available. Answering Defendants reserve herein the right to
 9
              assert additional defenses in the event that discovery indicates that they would be
10
11            appropriate.
12
13
14            WHEREFORE, answering Defendants pray as follows:

15       78. That Plaintiffs take nothing by their Complaint as to the answering Defendants;
16
         79.That the Complaint be dismissed with prejudice as to the answering Defendants;
17
18       80.That answering Defendants be awarded their costs and attorney’s fees to the extent
19
              allowed by law; and
20
21       81.For such other and further relief as the Court may deem just and proper.
22
23
24
                                                                      SHARIF | FAUST LAWYERS, LTD

25
26   Dated: April 18, 2018                                 BY:                /s/ Matthew J. Faust
                                                                                 Matthew J. Faust
27
                                                                               Khodadad D. Sharif
28                                                                           Attorneys for Defendants

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